

Hernandez v Five J's Automotive Ltd. (2020 NY Slip Op 07276)





Hernandez v Five J's Automotive Ltd.


2020 NY Slip Op 07276


Decided on December 03, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 03, 2020

Before: Friedman, J.P., Kapnick, Gesmer, Kern, Shulman, JJ. 


Index No. 20595/19 Appeal No. 12558 Case No. 2019-5317 

[*1]Sandra Hernandez, Plaintiff-Appellant,
vFive J's Automotive Ltd. et al., Defendants-Respondents.


Cellino &amp; Barnes, P.C., New York (Jordan S. Finkelstein of counsel), for appellant.
Gannon, Rosenfarb &amp; Drossman, New York (Lisa L. Gokhulsingh of counsel), for respondents.



Order, Supreme Court, Bronx County (John R. Higgitt, J.), entered June 7, 2019, which, to the extent appealed from as limited by the briefs, denied plaintiff's motion for partial summary judgment as to liability, unanimously reversed, on the law, without costs, and the motion granted.
Plaintiff submitted an affidavit in which she stated that she was sitting in the driver's seat of her car while it was legally parked when a "black jeep that was being towed rolled off the tow truck and on top of the rear of [her] vehicle." Defendants did
not attempt to offer any nonnegligent explanation as to how the accident occurred in opposition to plaintiff's motion, and thus, they failed to raise an issue of fact.
We have considered the parties' remaining arguments and find them unavailing.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 3, 2020








